                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                LYNCHBURG DIVISION

ROBERT ASHTON,                                       )
                                                     )
       Plaintiff,                                    )
                                                     )
       v.                                            ) Case No.: 7:17-CV-544
                                                     )
JAMES C. JUSTICE COMPANIES, INC.,                    )
                                                     )
and                                                  )
                                                     )
WINTERGREEN PARTNERS, INC.                           )
                                                     )
      Defendants.                                    )
________________________________________             )

                                        STATUS REPORT

       Per the Court’s oral Order of April 27, 2018, the Defendants, James C. Justice

Companies, Inc. and Wintergreen Partners, Inc. hereby submit the following status report:

       1.      On March 30, 2018, the Plaintiff filed a Motion for Summary Judgment.

       2.      The Defendants carefully reviewed the Motion, its attachments, applicable case

law and other relevant materials in consideration of the Motion. The Defendants also reviewed

the applicable law concerning attorney’s fees relevant to cases such as the instant matter.

       3.      On April 9, 2018, counsel for the Defendants advised counsel for the Plaintiff, via

e-mail, that the Defendants could not in good faith oppose the Motion for Summary Judgment.

That same correspondence requested that counsel for the Plaintiff prepare an agreed Order

concerning the Motion for Summary Judgment.

       4.      Behind the scenes the parties have also been engaging in settlement negotiations

and other efforts to resolve this matter.

       5.      On April 23, 2018, counsel for the Plaintiff provided counsel for the Defendants

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with a proposed Order concerning the Motion. Counsel for the Plaintiff also advised that he had

contacted the Court’s law clerk to advise the Court that an agreed Order was being prepared.

       6.      Since that time, counsel for the Defendants has reviewed the proposed Order and

is prepared to offer his changes to said Order.

       7.      Additionally, the parties have made substantial progress concerning settlement

and have exchanged a proposed Settlement Agreement and Promissory Note. If executed, these

documents would resolve the Motion for Summary Judgment. The Defendants are awaiting the

Plaintiff’s proposed changes (if any) to the settlement documents.

       8.      The Defendants stand ready to either resolve this litigation through settlement or

the presentation of an agreed Order. Given the above, the Defendants did not formally oppose

the Motion for Summary Judgment. The Defendants, however, would prefer to resolve the

matter via a negotiated settlement.

       WHEREFORE, the Defendants respectfully submit the foregoing in response to the

Court’s oral Order dated April 27, 2018.

                                              Respectfully submitted,

                                              JAMES C. JUSTICE COMPANIES, INC. &
                                              WINTERGREEN PARTNERS, INC.


                                              By: /s/     Aaron Balla Houchens
                                                        Of Counsel

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       Counsel for James C. Justice Companies, Inc. and Wintergreen Partners, Inc.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 1st of May 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, and the foregoing was electronically transmitted

through the CM/ECF system to the following CM/ECF participants:

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                                                     /s/    Aaron Balla Houchens




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